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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                             )
TIKTOK INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                       v.                    )    Civil Action No. 1:20-CV-2658-CJN
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
_                                            )

                       MOTION FOR LEAVE TO FILE UNDER SEAL

       Defendants hereby respectfully move this Court, pursuant to Local Civil Rule 5.1(h), for

an Order permitting Defendants to file their opposition to Plaintiffs’ motion for a preliminary

injunction under seal.    The memorandum references and attaches the Secretary’s Decision

Memorandum for Identification of Prohibited Transactions to Implement Executive Order 13942

and Address the Threat Posed by TikTok and the National Emergency with Respect to the

Information and Communications Technology and Services Supply Chain (Sept. 18, 2020). The

Decision Memorandum reflects submissions by ByteDance Holdings/TikTok to the Department

of Commerce that include confidential business information. See generally 15 C.F.R. § 4.9

(“Confidential commercial information”). Given the confidential business information contained

in these materials, Defendants respectfully submit this Motion for an Order permitting Defendants

to file the full version of their opposition and supporting materials under seal.

       Plaintiffs indicated they have no objection to these materials being filed under seal, but

reserve their right to take the position that some documents do not need to be sealed after Plaintiffs

review them. Because the confidential commercial information relates to Plaintiffs themselves,




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Defendants will provide Plaintiffs with a complete, unredacted version of Defendants’ filing after

it is made. Defendants will prepare and file public, redacted versions of these materials on the

Court’s regular docket later today.


Dated: September 25, 2020                    Respectfully submitted,

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